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APPENDIX A
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   •   Astra Carlisa Coleman (Ex. A, para. 614; Doc. 82, Ex. 3-Fishbeck000014);

   •   Eunice Henderson Sullen (Ex. A, para. 647, Doc. 82, Ex. 7-Fishbeck000027);

   •   Sheryl Ann Chen (Ex. A, para. 658, Doc. 82, Ex. 8-Fishbeck000033);

   •   Kandi Danielle Whiteside (Ex. A, paras. 668, 717, 782, Doc. 82, Ex. 9-

       Fishbeck000038);

   •   Sharon Smithey Whiteside (Ex A, paras. 669, 719, 784, Doc. 82, Ex. 9-

       Fishbeck000041-42);

   •   Athena L. Hall (Ex. A, para. 690, Doc. 82, Ex. 11-Fishbeck000050);

   •   Kaitlyn Adams (Ex. A, para. 693, Doc. 82, Ex. 11-Fishbeck000051);

   •   Natasha Pickard (Ex. A, para. 813, Doc. 82, Ex. 21-Fishbeck000094);

   •   Janice Kwilos-Edmonds (Ex. A, para. 843, Doc. 82, Ex. 24-Fishbeck000105);

   •   Bivian Kay Trevino (Ex. A, para. 995, Doc. 82, Ex. 31-Fishbeck000127);

   •   Mamda Hurd (Ex. A, para. 921, Doc. 82, Ex. 32-Fishbeck000133);

   •   Karen Ann Clover (Ex. A, para. 923, Doc. 82, Ex. 32-Fishbeck000132);

   •   Patricia Irene Ward (Ex. A, para. 979, Doc. 82, Ex. 39-Fishbeck000155);

   •   Patricia Angie Capra (Ex. A, para. 1079, Doc. 82, Ex. 49-Fishbeck000199);

   •   Janet M. Schoonover (Ex. A, para. 1121, Doc. 82, Ex. 52-Fishbeck000217);

   •   Charlotte Rae Teetsel (Ex. A, para. 1122, Doc. 82, Ex. 52-Fishbeck000216);

   •   Kayeleen Anne Luloff (Ex. A, para. 1126, Doc. 82, Ex. 52-Fishbeck000219);

   •   Kristi Lynn Hadfield (Ex. A, para. 1156, Doc. 82, Ex. 55-Fishbeck000231);

   •   Jennifer Christine Roton (Ex. A, para.1157, Doc. 82, Ex. 55-Fishbeck000230);

   •   Teri Tarantino (Ex. A, para. 1166, Doc. 82, Ex. 56-Fishbeck000235);

   •   Jennie Lee (Ex. A, para. 1293, Doc. 82, Ex. 69-Fishbeck000279);



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   •   Catherine N. Goble (Ex. A, para. 1295, Doc. 82, Ex. 69-Fishbeck000278);

   •   Karly Ann Baugh (Ex. A, para. 1319, Doc. 82, Ex. 72-Fishbeck000288);

   •   Georgia Gryder (Ex. A, para. 1363, Doc. 95, Ex. 493-Fishbeck001931;

   •   Mary Barwick (Ex. A, para. 1424, Doc. 82, Ex. 83-Fishbeck000329);

   •   Jennifer Coalson (Ex. A, para. 1425, Doc. 82, Ex. 83-Fishbeck000330);

   •   Allysa Brook Wilson (Ex. A, para. 1487, Doc. 82, Ex. 90-Fishbeck000353);

   •   Robin Renee Davidson (Ex. A, para. 1534, Doc. 82, Ex. 96-Fishbeck000374);

   •   Samantha L.N. Tjaden (Ex. A, para. 1623, Doc. 82, Ex. 104-Fishbeck000403);

   •   Marisa Carmel Veguilla (Ex. A, para. 1735, Doc. 82, Ex. 115-Fishbeck000433);

   •   Misty Dawn Heekin (Ex. A, para. 1753, Doc. 82, Ex. 117-Fishbeck000442);

   •   Tabitha Winton (Ex. A, para. 1821, Doc. 82, Ex. 123-Fishbeck000465-466);

   •   Regina Yost (Ex. A, para. 1839, Doc. 82, Ex. 126-Fishbeck000474);

   •   Patricia A. Cannon (Ex. A, para. 1849, Doc. 82, Ex. 127-Fishbeck000479);

   •   Janelle D. Colwell (Ex. A, para. 1866, Doc. 82, Ex. 129-Fishbeck000485);

   •   Alanna Colleen Colwell (Ex. A, para. 1867, Doc. 82, Ex. 129-Fishbeck000484);

   •   Sheila McCormick (Ex. A, para. 1928, Doc. 82, Ex. 136-Fishbeck000509);

   •   Shannon Senn (Ex. A, para. 2009, Doc. 82, Ex. 145-Fishbeck000539);

   •   Thelma Nelson (Ex. A, para. 2062, Doc. 82, Ex. 151-Fishbeck000559);

   •   Kimberly Ann Brown (Ex. A, para. 2103, Doc. 82, Ex. 155-Fishbeck000578);

   •   Catherine Makimay Luckey (Ex. A, para. 2143, Doc. 82, Ex. 160-

       Fishbeck000592);

   •   Abbi Miranda Carreto (Ex. A, para. 2161, Doc. 82, Ex. 161-Fishbeck000595);

   •   Ronda Kay Haines (Ex. A, para. 2189, Doc. 82, Ex. 164-Fishbeck000612);



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   •   Karen Mae Haines (Ex. A, para. 2190, Doc. 82, Ex. 164-Fishbeck000595);

   •   Gail Fortner Lott (Ex. A, paras. 2217, 4353, 4363, Doc. 82, Ex. 167-

       Fishbeck000622);

   •   Monica E. Loera (Ex. A, para. 2238, Doc. 82, Ex. 169-Fishbeck000635);

   •   Marlene Marie Grana (Ex. A, para. 2277, Doc. 82, Ex. 173-Fishbeck000650);

   •   Elizabeth Anderson (Ex. A, para. 2355, Doc. 82, Ex. 181-Fishbeck000692);

   •   Xenie Hladik (Ex. A, para. 2420, Doc. 82, Ex. 188-Fishbeck000722-723);

   •   Leatha M. Swartz (Ex. A, paras. 2439, 2816 Doc. 82, Ex. 190-Fishbeck000731);

   •   Lydia A. Hill (Ex. A, paras. 2442, 2825 Doc. 82, Ex. 190-Fishbeck000732);

   •   Sandra Clamon (Ex. A, para. 2469, Doc. 82, Ex. 194-Fishbeck000745-746);

   •   Jelissa Talamante (Ex. A, para. 2476, Doc. 82, Ex. 194-Fishbeck000748);

   •   Allison Lorraine Wharton (Ex. A, paras. 2500, 2593, Doc. 82, Ex. 197-

       Fishbeck000748);

   •   Linda Lorraine Winn (Ex. A, paras. 2501, 2594, Doc. 82, Ex. 197-

       Fishbeck000756);

   •   Cheryl Lynn Dreasky (Ex. A, para. 2522, Doc. 82, Ex. 199-Fishbeck000761);

   •   Dawn Marie Harvey (Ex. A, para. 2525, Doc. 82, Ex. -Fishbeck000762);

   •   Catherine Elizabeth Urquhart (Ex. A, para. 2532, Doc. 82, Ex. 200-

       Fishbeck000766-767);

   •   Christina Wilkerson (Ex. A, para. 2536, Doc. 82, Ex. 200-Fishbeck000768);

   •   Patricia L. Geiger (Ex. A, para. 2582, Doc. 82, Ex. 204-Fishbeck000789);

   •   Julia Dantong McElwain (Ex. A, paras. 2617, 3862, 4059, Doc. 82, Ex. 205-

       Fishbeck000796);




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   •   Eleanor E. McElwain (Ex. A, paras. 2620, 3865, 4062, Doc. 82, Ex. 205-

       Fishbeck000793-794);

   •   Victoria C. Levsen (Ex. A, para. 2744, Doc. 82, Ex. 218-Fishbeck000839-840);

   •   Karen K. Grenner-Case (Ex. A, para. 2792, Doc. 82, Ex. 224-Fishbeck000856);

   •   Myra R. Bardo (Ex. A, para. 2794, Doc. 82, Ex. 224-Fishbeck000857);

   •   Maria Egan (Ex. A, para. 2834, Doc. 82, Ex. 227-Fishbeck000867);

   •   Kelly N. Snyder (Ex. A, para 2940, Doc. 82, Ex. 237-Fishbeck000895);

   •   Monica Seamans (Ex. A, para. 3012, Doc. 82, Ex. 242-Fishbeck000919);

   •   Ashley Marie Knap (Ex. A, para. 3013, Doc. 82, Ex. 242-Fishbeck000917);

   •   Rachel L. Vera (Ex. A, para. 3020, Doc. 82, Ex. 243-Fishbeck000923);

   •   Pamela A. Geffert (Ex. A, para. 3046, Doc. 82, Ex. 246-Fishbeck000933);

   •   Carol Osbourne Phillips (Ex. A, para. 3059, Doc. 82, Ex. 247-Fishbeck000939);

   •   Dorenda Brannon (Ex. A, para. 3062, Doc. 82, Ex. 247-Fishbeck000944);

   •   Sarah Louis Parker (Ex. A, para. 3068, Doc. 82, Ex. 247-Fishbeck000946);

   •   Vanette C. Sanchez (Ex. A, para. 3172, Doc. 82, Ex. 258-Fishbeck000988);

   •   Donna Squires (Ex. A, para. 3182, Doc. 82, Ex. 259-Fishbeck000990);

   •   Sharon Therese Berry (Ex. A, para. 3191, Doc. 82, Ex. 260-Fishbeck000999);

   •   Isabel G. Tellez (Ex. A, para. 3204, Doc. 82, Ex. 261-Fishbeck001002);

   •   Sadie S. Lafromboise (Ex. A, para. 3206, Doc. 82, Ex. 261-Fishbeck001004);

   •   Jennifer Lynn Arebalo (Ex. A, para. 3215, Doc. 82, Ex. 262-Fishbeck001008);

   •   Claudia Catherine Pierce (Ex. A, para. 3253, Doc. 82, Ex. 267-Fishbeck001019);

   •   Carol Rose Prazynski (Ex. A, para. 3254, Doc. 82, Ex. 267-Fishbeck001020);

   •   Carla West (Ex. A, para. 3264, Doc. 82, Ex. 268-Fishbeck001027);



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   •   Chiquita S. Williams (Ex. A, para. 3285, Doc. 82, Ex. 270-Fishbeck001035);

   •   Rebecca S. Damin-Moss (Ex. A, para. 3338, Doc. 82, Ex. 276-Fishbeck001058);

   •   Michelle L. Briggs (Ex. A, para. 3356, Doc. 82, Ex. 278-Fishbeck001066);

   •   Ashlea Gabrielle Tadlock (Ex. A, para. 3359, Doc. 82, Ex. 278-Fishbeck001064);

   •   Connie West (Ex. A, para. 3368, Doc. 82, Ex. 279-Fishbeck001069);

   •   Christina Louise Shima (Ex. A, para. 3408, Doc. 82, Ex. 282-Fishbeck001084);

   •   Nichole R. Hoskins (Ex. A, para. 3426, Doc. 82, Ex. 284-Fishbeck001091);

   •   Stephanie Marie Puopolo (Ex. A, para. 3436, Doc. 82, Ex. 285-Fishbeck001094);

   •   Pamela Rice Harris (Ex. A, para. 3445, Doc. 82, Ex. 286-Fishbeck001100);

   •   Gloria Ervin Williams (Ex. A, para. 3448, Doc. 82, Ex. 286-Fishbeck001098);

   •   Melanie Green (Ex. A, para. 3482, Doc. 82, Ex. 287-Fishbeck001104);

   •   Marilyn Marie Hemphill (Ex. A, para. 3468, Doc. 82, Ex. 288-Fishbeck001111);

   •   Laura Nanitra Weathersby (Ex. A, para. 3479, Doc. 82, Ex. 289-Fishbeck001118);

   •   Peggie Anne Jones (Ex. A, para. 3484, Doc. 82, Ex. 289-Fishbeck001119);

   •   Joanne Currier (Ex. A, para. 3493, Doc. 82, Ex. 290-Fishbeck001125);

   •   Jill Katherine Krueger (Ex. A, para. 3502, Doc. 82, Ex. 291-Fishbeck001128);

   •   Karen Jean Krueger (Ex. A, para. 3503, Doc. 82, Ex. 291-Fishbeck001129);

   •   Debra Lynn Malson (Ex. A, para. 3568, Doc. 82, Ex. 297-Fishbeck001151);

   •   Amy Malson Fly (Ex. A, para. 3570, Doc. 82, Ex. 297-Fishbeck001148);

   •   Robin Bowling Feron (Ex. A, para. 3592, Doc. 82, Ex. 300-Fishbeck001161);

   •   Ashley Bowling Nogueira (Ex. A, para. 3593, Doc. 82, Ex. 300-Fishbeck001158);

   •   Brooke Elizabeth Wexler (Ex. A, para. 3594, Doc. 82, Ex. 300-Fishbeck001159);

   •   Lucia A. Schaffer (Ex. A, para. 3624, Doc. 82, Ex. 304-Fishbeck001171);



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   •   Amy Jo Finnegan (Ex. A, para. 3625, Doc. 82, Ex. 304-Fishbeck001170);

   •   Dorthy L. Mack (Ex. A, para. 3669, Doc. 82, Ex. 309-Fishbeck001187);

   •   Amy Lynn Rosales (Ex. A, para. 3679, Doc. 82, Ex. 310-Fishbeck001193);

   •   Beverly Ann Miller (Ex. A, para. 3747, Doc. 82, Ex. 315-Fishbeck001217);

   •   Tania Renee Barrett (Ex. A, para. 3748, Doc. 82, Ex. 316-Fishbeck001220);

   •   Frances Elizabeth Anthony (Ex. A, para. 3825, Doc. 82, Ex. 325-Fishbeck001254);

   •   Nicole M. Housmans (Ex. A, para. 3927, Doc. 82, Ex. 333-Fishbeck001285);

   •   Nickie Velez (Ex. A, para. 3934, Doc. 82, Ex. 334-Fishbeck001289);

   •   Lenore Jean Harp (Ex. A, para. 3961, Doc. 82, Ex. 336-Fishbeck001295);

   •   Lynda Sue Murray (Ex. A, para. 3970, Doc. 82, Ex. 337-Fishbeck001300);

   •   Beau Anthony Mattioda (Ex. A, para. 3998, Doc. 82, Ex. 341-Fishbeck001311-

       1312);

   •   Charlene F. Holm (Ex. A, para. 4022, Doc. 82, Ex. 343-Fishbeck001319);

   •   Madeline Prato (Ex. A, para. 4024, Doc. 82, Ex. 343-Fishbeck001321);

   •   Lindsay Deanne Reyes (Ex. A, para. 4038, Doc. 82, Ex. 344-Fishbeck001332);

   •   Wendy Deanne Leatherwood (Ex. A, para. 4039, Doc. 82, Ex. 344-

       Fishbeck001335);

   •   Debbie Lee Zenk (Ex. A, para. 4041, Doc. 82, Ex. 344-Fishbeck001329);

   •   Maria Luz Simpson (Ex. A, para. 4080, Doc. 82, Ex. 346-Fishbeck001342);

   •   Andrea M. McGinnis (Ex. A, para. 4104, Doc. 82, Ex. 347-Fishbeck001347);

   •   Nancy A. Restifo (Ex. A, para. 4175, Doc. 82, Ex. 355-Fishbeck001367);

   •   Ashley Thomas Gibson (Ex. A, para. 4309, Doc. 82, Ex. 365-Fishbeck001401);

   •   Dolores Schaffer (Ex. A, para. 4319, Doc. 82, Ex. 366-Fishbeck001406);



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   •   Juanita Doss (Ex. A, paras. 4343, 4992, Doc. 82, Ex. 369-Fishbeck001414);

   •   Tina Scates (Ex. A, paras. 4379, 4500, Doc. 82, Ex. 490-Fishbeck001915-1918);

   •   Leticia Taetuli (Ex. A, para. 4407, Doc. 82, Ex. 372-Fishbeck001425);

   •   Holly Ann Mrozinski (Ex. A, para. 4450, Doc. 82, Ex. 376-Fishbeck001441);

   •   Kaitlyn Martinez (Ex. A, para. 4462, Doc. 82, Ex. 377-Fishbeck001446);

   •   Elizabeth Mary Finch (Ex. A, para. 4535, Doc. 82, Ex. 382-Fishbeck001465);

   •   Esther Scaman (Ex. A, para. 4551, Doc. 82, Ex. 384-Fishbeck001471);

   •   Cassie Quintana Vasquez (Ex. A, para. 4552, Doc. 82, Ex. 384-Fishbeck001472);

   •   Jennifer Akhtar (Ex. A, para. 4569, Doc. 82, Ex. 386-Fishbeck001478);

   •   Sarah A. Wattier (Ex. A, para. 4593, Doc. 82, Ex. 389-Fishbeck001487);

   •   Carrie L. Boswood (Ex. A, para. 4603, Doc. 82, Ex. 390-Fishbeck001490);

   •   Maria Criselda Sierra (Ex. A, para. 4664, Doc. 82, Ex. 396-Fishbeck001510);

   •   Jaimie K. Egge (Ex. A, para. 4720, Doc. 82, Ex. 402-Fishbeck001527);

   •   Desiree Anne Thornhill (Ex. A, para. 4731, Doc. 82, Ex. 403-Fishbeck001531);

   •   Judy Lynn Wickens (Ex. A, para. 4764, Doc. 82, Ex. 407-Fishbeck001543);

   •   Annette Williams (Ex. A, para. 4862, Doc. 82, Ex. 416-Fishbeck001570);

   •   Elyse Fink (Ex. A, para. 4919, Doc. 82, Ex. 423-Fishbeck001591);

   •   Candus Angel Dell (Ex. A, para. 4939, Doc. 82, Ex. 424-Fishbeck001596);

   •   Nora Ann Foutz (Ex. A, para. 4948, Doc. 82, Ex.425 -Fishbeck001599);

   •   Cynthia Leonard (Ex. A, para. 4961, Doc. 82, Ex. 426-Fishbeck001604);

   •   Priscilla Griego (Ex. A, para. 4962, Doc. 82, Ex. 426-Fishbeck001610);

   •   Marnita L. Marler (Ex. A, para. 4982, Doc. 82, Ex. 428-Fishbeck001618);




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   •   Caryn M. Giroux (Ex. A, paras. 5098, 5153, 5247, Doc. 82, Ex. 438-

       Fishbeck001654);

   •   Pattie Ann Black (Ex. A, para. 5117, Doc. 82, Ex. 440-Fishbeck001665);

   •   Wendy Ann Law (Ex. A, para. 5119, Doc. 82, Ex. 440-Fishbeck001666);

   •   Jennifer Nicole Burelsmith (Ex. A, para. 5120, Doc. 82, Ex. 440-Fishbeck001663);

   •   Pearl Jean McKenzie (Ex. A, para. 5174, Doc. 82, Ex. 445-Fishbeck001681);

   •   Rosemary Middleton (Ex. A, para. 5176, Doc. 82, Ex. 445-Fishbeck001682);

   •   Linda Benavides (Ex. A, para. 5209, Doc. 82, Ex. 449-Fishbeck001694);

   •   Vicki Dolby (Ex. A, para. 5227, Doc. 82, Ex. 450-Fishbeck001706);

   •   Sara Jayne McKenzie (Ex. A, paras. 5259, 5432, Doc. 82, Ex. 451-

       Fishbeck001709);

   •   Veronica M. Menyweather (Ex. A, para. 5288, Doc. 82, Ex. 454-Fishbeck001738);

   •   Billie Joyce Edwards (Ex. A, para. 5302, Doc. 82, Ex. 454-Fishbeck001722);

   •   Robyn Jeanne Burns (Ex. A, para. 5316, Doc. 82, Ex. 455-Fishbeck001745);

   •   Ashley Mariah Burns (Ex. A, para. 5318, Doc. 82, Ex. 455-Fishbeck001741);

   •   Danyelle M. Nally (Ex. A, para. 5344, Doc. 82, Ex. 457-Fishbeck001760);

   •   Carolyn Jordan (Ex. A, para.5371, Doc. 82, Ex. 460-Fishbeck001768);

   •   Lind Rose Jordan (Ex. A, para. 5375, Doc. 82, Ex. 460-Fishbeck001772);

   •   Melanie Thomas (Ex. A, para. 5378, Doc. 82, Ex. 460-Fishbeck001773);

   •   Roxie Bell (Ex. A, para. 5397, Doc. 82, Ex. 462-Fishbeck001787);

   •   Ethel Ross Gowdy (Ex. A, para. 5410, Doc. 82, Ex. 463-Fishbeck001793);

   •   Conilia Ross Yobo (Ex. A, para. 5414, Doc. 82, Ex. 463-Fishbeck001790);

   •   Jemilia Ross Polius (Ex. A, para. 5415, Doc. 82, Ex. 463-Fishbeck001795);



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   •   Rhonda Wilhelm (Ex. A, para. 5465, Doc. 82, Ex. 467-Fishbeck001811);

   •   Ursula Youngerman Pirtle (Ex. A, para. 5483, Doc. 82, Ex. 469-Fishbeck001826-

       1827);

   •   Kay Lynn Beeman (Ex. A, para. 5487, Doc. 82, Ex. 469-Fishbeck001822);

   •   Linnie Alma Blankenbecler (Ex. A, para. 5498, Doc. 82, Ex. 470-Fishbeck001831);

   •   Amanda Marie Villalobos (Ex. A, para. 5501, Doc. 82, Ex. 470-Fishbeck001830);

   •   Jessica Marie Scaduto (Ex. A, para. 5502, Doc. 82, Ex. 470-Fishbeck001832);

   •   Amanda Marie Wendland (Ex. A, paras. 5513, 5673, Doc. 82, Ex. 471-

       Fishbeck001836-1838);

   •   Francis M. Lovato (Ex. A, para. 5575, Doc. 82, Ex. 478-Fishbeck001865);

   •   Cassandra Williams Sparks (Ex. A, para. 5593, Doc. 82, Ex. 480-Fishbeck001875);

   •   Delilah L. Griffith (Ex. A, para. 5607, Doc. 82, Ex. 481-Fishbeck001881);

   •   April D. McTighe (Ex. A, para. 5623, Doc. 82, Ex. 483-Fishbeck001886);

   •   Ashley R. Rebstein (Ex. A, para. 5647, Doc. 82, Ex. 485-Fishbeck001899).




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